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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES -- GENERAL

Case No.         CV 21-5490-JFW(MRWx)                                         Date: November 5, 2021

Title:           Danny Sanchez -v- Experian Information Solutions, Inc., et al.


PRESENT:
                 HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                 Shannon Reilly                                None Present
                 Courtroom Deputy                              Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                      ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                   None

PROCEEDINGS (IN CHAMBERS):                  ORDER OF DISMISSAL

        In the Notice of Settlement filed on November 5, 2021, Docket No. 29_, the parties
represent that they have settled this action. As a result, the Court dismisses this action without
prejudice subject to either party reopening the action on or before December 20, 2021. The Court
will retain jurisdiction for the sole purpose of enforcing the settlement until December 20, 2021.
Thereafter, absent further order of the Court, the dismissal of this action will be with prejudice. All
dates in this action, including the trial date are vacated.

         IT IS SO ORDERED.




                                                                                  Initials of Deputy Clerk sr

(Rev. 1/14/15)
